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 5                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
 6
 7    UNITED STATES OF AMERICA,                )     No. CR-11-088-LRS-1
                                               )
 8                  Plaintiff,                 )     ORDER FOLLOWING STATUS
                                               )     HEARING AND GRANTING
 9    v.                                       )     UNOPPOSED MOTION TO MODIFY
                                               )     CONDITIONS OF RELEASE
10    EDWARD AUSTIN BALES,                     )
                                               )      Motion Granted
11                  Defendant.                 )         (Ct. Rec. 68)
                                               )
12                                             )      Status Hearing:
                                               )              9/15/11, at 1:30 p.m.
13
14   Date of Motion hearing: August 18, 2011.

15         IT IS ORDERED that the continued release the Defendant is subject

16   to the following additional conditions:

17         1.   Defendant shall resolve pending warrants.

18         2.   Defendant shall reside at Oxford House.

19         3.   Defendant shall have a curfew of 6:00 p.m. to 6:00 a.m.               The

20   curfew may be altered as necessary by Pretrial Services.

21         4.   Defendant shall attend N.A. meetings three times a week.

22         5.   If random urinalysis testing is not done through a treatment

23   program,      random   urinalysis     testing    shall    be   conducted   through

24   Pretrial Services, and shall not exceed six (6) times per month.

25   Defendant shall submit to any method of testing required by the

26   Pretrial Service Office for determining whether the Defendant is

27   using a prohibited substance.          Such methods may be used with random

28   frequency and include urine testing, the wearing of a sweat patch,

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 1   a remote alcohol testing system, and/or any form of prohibited
 2   substance screening or testing.              Defendant shall refrain from
 3   obstructing or attempting to obstruct or tamper, in any fashion,
 4   with the efficiency and accuracy of prohibited substance testing.
 5   Full mutual releases shall be executed to permit communication
 6   between the court, Pretrial Services, and the treatment vendor.
 7   Treatment shall not interfere with Defendant’s court appearances.
 8      6.   Defendant shall contact his attorney and Pretrial Services at
 9   least once a week.
10      DATED August 19, 2011.
11
12                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER FOLLOWING STATUS HEARING AND GRANTING
     UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE - 2
